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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
 JOHN and JANE DOE A, individually and as      )
 parents and next friends of DOE CHILD A, a    )
 minor; JOHN and JANE DOE B, individually      )
 and as parent and next friends of DOE CHILD   )
 B, a minor;                                   )
                                               )
         Plaintiffs,                           )
                                               )
                         v.                    )
 PLAINFIELD COMMUNITY                          )    No.
 CONSOLIDATED SCHOOL DISTRICT 202; )
 MICHAEL MODERHACK, individually and           )
 as an agent of District 202; JON PEREIRO,     ) PLAINTIFFS DEMAND TRIAL BY JURY
 individually and as an agent of District 202; )
 and VINCENT VASQUEZ, individually and as )
 agent of DISTRICT 202;                        )
                                               )
         Defendants.                           )


                                    COMPLAINT AT LAW

       NOW COME the Plaintiffs, JOHN and JANE DOE A, individually and as Parents and

Next Friends of DOE CHILD A, and JOHN and JANE DOE B, individually and as Parents and

Next friends of DOE CHILD B, a minor (collectively “Plaintiffs”), by and through their attorneys,

ROMANUCCI & BLANDIN, LLC, and complaining against Defendants, PLAINFIELD

COMMUNITY CONSOLIDATED SCHOOL DISTRICT 202; MICHAEL MODERHACK,

individually and as an agent of District 202; JON PEREIRO, individually and as an agent of

District 202; VINCENT VASQUEZ, individually and as an agent of District 202; (collectively

“Defendants”), pleading hypothetically and in the alternative, state as follows:

                                        JURY DEMAND

   1. The Plaintiff hereby demands trial by jury.

                                    NATURE OF ACTION

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2.       This cause of action arises out of the hazing, harassment, bullying, abuse, and other

         unlawful treatment of Doe Child A and B caused by Defendant PLAINFIELD

         COMMUNITY CONSOLIDATED SCHOOL DISTRICT 202, Defendant Coaches

         MODERHACK, PEREIRO, and VASQUEZ, on October 17, 2019, at or near the boys’

         locker room located at Plainfield Central High School, Village of Plainfield, County of

         Will, Illinois.

3.       This cause of action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

         under color of state law and through state law claims of willful and wanton conduct of

         DOE CHILD A’s and DOE CHILD B’s rights as secured by the United States

         Constitution.

4.       This cause of action is for money damages brought pursuant to 42 U.S.C. § 1983, the

         Fourteenth Amendment to the United States Constitution, and Illinois state law against

         Defendant Coaches MODERHACK, PEREIRO, and VASQUEZ and PLAINFIELD

         COMMUNITY CONSOLIDATED SCHOOL DISTRICT 202.

5.       The subject hazing rituals and traditions are a form of bullying and have been part of

         the culture of the Plainfield Central High School Football Team for years. The teams’

         coaches have sanctioned these rituals. Indeed, the Plaintiffs are but a fraction of the

         students who have been physically and sexually assaulted pursuant to this hazing ritual.

         In addition to seeking damages to compensate Plaintiffs for their psychological injuries,

         DOE CHILD A, who still attends Plainfield Central, seeks injunctive relief that would

         put an end to the hazing rituals, so that neither they nor future members of the Plainfield

         Central Football team will be subjected to the same abuses Plaintiffs have suffered.




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   6.        This is a tort action brought by two students at Plainfield Central High School located

             in Plainfield, Illinois. Both students were forced to endure hazing, harassment,

             bullying, abuse amounting to assaults by members of Plainfield Central High School

             Football Team. These assaults were part of longstanding and prevalent hazing rituals

             and traditions known as “Code Blue” to Defendant coaches long before the dates of

             Plaintiffs’ assaults.

                                     JURISDICTION AND VENUE

   7.        This Court has jurisdiction over federal questions pursuant to 28 U.S.C. §1331 and the

             redress of violations of civil rights pursuant to 28 U.S.C. §1343, as well as

             supplemental jurisdiction over Illinois state law claims pursuant to 28 U.S.C. §1367.

   8.        Venue is proper in this Court under 28 U.S.C. §1391(b) because all incidents, events,

             and occurrences giving rise to this action occurred in the Northern District of Illinois.

             Moreover, upon information and belief, all of the parties reside in this Judicial District.

                                               THE PARTIES

Plaintiffs

   9.        Plaintiffs JOHN and JANE DOE A, individually and as parents and next friends of

             DOE CHILD A, are residents of the City of Joliet, Will County, Illinois.

   10.       Plaintiff DOE CHILD A is a minor and is a resident of the City of Joliet, Will County,

             Illinois. JOHN DOE A attended Plainfield Central High School at all relevant times.

   11.       Plaintiffs JOHN and JANE DOE B, individually and as parents and next friends of

             DOE CHILD B, are residents of the Village of Plainfield, Will County, Illinois.




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   12.   Plaintiff DOE CHILD B is a minor and is a resident of the Plainfield, Will County,

         Illinois. JOHN DOE B attended Plainfield Central High School at all relevant times

         and through October 18, 2019.

Defendants

   13.   Defendant PLAINFIELD COMMUNITY CONSOLIDATED SCHOOL DISTRICT

         202 (hereinafter “DISTRICT 202”), is a municipal corporation existing by and under

         the laws of the State of Illinois, with its principal place of business located in Plainfield,

         Will County, Illinois.

   14.   Defendant DISTRICT 202 is the governing entity having authority over Plainfield

         Central High School.

   15.   Defendant MICHAEL MODERHACK (hereinafter “MODERHACK”), was an agent

         of DISTRICT 202 and was a football coach at Plainfield Central High School at all

         relevant times. MODERHACK has been employed by DISTRICT 202 in that position

         at all relevant times.

   16.   Defendant JON PEREIRO (hereinafter “PEREIRO”), was an agent of DISTRICT 202

         and was the head varsity football coach at Plainfield Central High School at all relevant

         times. Defendant PEREIRO has been employed by DISTRICT 202 in that position at

         all relevant times.

   17.   Defendant VINCENT VASQUEZ (hereinafter “VASQUEZ”), was an agent of

         DISTRICT 202 and was a football coach at Plainfield Central High School at all

         relevant times. Defendant VASQUEZ has been employed by DISTRICT 202 in that

         position at all relevant times.




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                                FACTUAL ALLEGATIONS

Plainfield Central High School Football Traditions


   18.    Plainfield Central High School has had longstanding issues involving hazing and

          bullying of a sexual nature within its Varsity, Sophomore, and Freshman football teams

          (hereinafter collectively referred to as “Plainfield Central Football Team”).

   19.    An enduring tradition of the Plainfield Central Football Team is a hazing ritual known

          by its coaches, including Defendants MODERHACK, PEREIRO, and VASQUEZ, and

          players as a “Code Blue.”

   20.    “Code Blue”, refers to a hazing ritual where Varsity members of the Plainfield Central

          Football Team submit selected Freshman members of the Team to harassment and/or

          assaults in the locker room, varying in nature but often including forcing Freshmen to

          the ground and pushing a broom stick between and through their buttocks resulting in

          penetration; and/or forcing Freshmen to strip and allow themselves to be covered in

          soap and beaten up in the locker room shower with the water running.

   21.    On and before October 16, 2019, Defendants MODERHACK, PEREIRO, and

          VASQUEZ knew that senior members of the Plainfield Central Football Team would

          subject Freshmen members to the hazing ritual known as “Code Blue.”

   22.    Often during a “Code Blue,” Varsity members of the Plainfield Central Football team

          would then give Freshmen a “choice”: either forcibly push a broom between and

          through their buttocks resulting in penetration, or allow Varsity members to forcibly

          penetrate them with the broom.

   23.    If Freshmen would refuse to do it themselves, Varsity members of the team would

          violently throw selected Freshmen teammates to the ground.


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   24.    After throwing selected Freshmen members of the Plainfield Central Football Team to

          the ground, senior members of the team would hold the Freshmen down on the ground.

   25.    A senior member of the team would then grab a broom and walk towards the Freshmen

          team members being held on the ground.

   26.    The senior holding the broom would then force the broomstick between the buttocks

          of the Freshmen team member, resulting in penetration without his consent.

   27.    “Code Blue” is considered a team bonding exercise and a rite of passage on the

          Plainfield Central Football Team.

   28.    “Code Blue” is and was a tradition that was meant to make freshman members feel like

          a part of the team.

   29.    Hazing acts such as these were done with the knowledge of the football coaching staff

          stemming as far back as 2014.

   30.    The social pressure and bullying at such events are so severe that unwilling participants

          are forced to take part in acts that are assaultive, illegal, and often sexual in nature.

   31.    Upon information and belief, former survivors and victims of these sexual assaults are

          pressured into accepting these sexual assaults as an essential team bonding exercise.

   32.    Involvement in said traditions is and has been widespread throughout the football

          program.



Plainfield Community Consolidated School District 202 Policies

   33.    Defendant DISTRICT 202 Sets out in its handbook categories of student conduct

          defined as “offenses” for which student may be subject to discipline.




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34.   Students of DISTRICT 202 may be disciplined for misconduct that occurs on

      DISTRICT 202 property.

35.   Offenses in the District 202 Student Handbook are divided into three “levels” according

      to the severity of the conduct at issue and the available disciplinary action for the

      corresponding conduct.

36.   Level 1 Offenses may result in detentions, ALC [Alternative Learning Center]

      assignment, and loss of privileges. The District 202 Student Handbook instructs

      teachers, supervisors, and administrators to “respond based on the circumstances and

      actions of the student(s).”

37.   Level 2 Offenses “require the attention of the administration because they are too

      disruptive, too frequent, or too serious to be handled by school staff members while

      they are supervising or teaching other students.”

38.   Level 2 Offenses can be met with a punishment of detentions, ALC assignment, out of

      school suspension, Refocus, and loss of privileges.

39.   “Refocus” refers to “a one or two day in-school intervention designed to assist students

      in processing behavioral choices and the impact on their academic, social and

      emotional well-being.”

40.   Classified as a “Level 2” Offense is “bullying/harassment,” which is defined as: “severe

      or pervasive conduct that is repeatedly directed towards a specific student. The repeated

      behavior is reasonably predicted to place the student in fear of harm, detrimentally

      affect physical or mental health, substantially interfere with academic performance, or

      substantially interfere with participation in or benefit from school.”




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41.   Students at DISTRICT 202 who are behaving in any way that is disruptive to the school

      environment or making physical contact that negatively impacts another student or the

      school environment are guilty of a “Level 2 Offense.”

42.   Also classified as a “Level 2” Offense is “Inappropriate Physical Contact: Making

      physical contact that negatively impacts another student or the school environment.

43.   Level 3 Offenses can be met with a punishment of: the “Catalyst Program, out-of-

      school suspension, recommendation for alternative placement or expulsion up to two

      (2) calendar years from DISTRICT 202. Any illegal actions will also be referred to the

      local police department.”

44.   The “Catalyst Program” is a one-time intervention offered at the discretion of the

      assistant principal in charge of discipline based on specific criteria for students facing

      “suspendable” offenses. Its mission is to coordinate school, home, and community

      resources to help students manage behaviors that endanger their safety, or put them at

      risk for academic failure. The program is a purposeful attempt to apply multiple

      intervention strategies that empower the student to successfully navigate into a positive

      school environment.”

45.   Classified as a “Level 3” Offense are the following categories of conduct: “Assault to

      Student: threatening to physically or mentally harm another student”; “Battery to

      Student: unwanted physical touching of a student, either directly, indirectly, or with a

      weapon or dangerous object”; “Fighting: engaging in physical contact or behavior with

      the purpose of inflicting harm to another person”; “Gross Misconduct: any conduct,

      behavior, or activity which causes or may reasonably lead school authorities to forecast

      substantial injury, disruption, or interference with school environment or the rights of



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         other students or school personnel”; and “Sexual Harassment: any unwanted

         unwelcome sexual advances, physical contact, inappropriate touching, verbal, non-

         verbal or written remarks towards students, staff, or others in the school community.”

46.      Beyond the 3 levels of offenses or offensive conduct set forth in the Handbook and

         applicable to all students, DISTRICT 202 requires its student athletes to adhere to

         what’s known as its “Athletic Code.”

47.      Adherence to the “Athletic Code” is a requirement for all student athletes at Plainfield

         Central High School.

48.      The District 202 Student Handbook instructs students that “It is the responsibility of

         the coaches and sponsors to inform participants of the Code and to enforce the Code in

         a fair and consistent manner. It is the participant’s responsibility to be aware of the

         Code and to adjust behavior accordingly so that it becomes unnecessary for a coach or

         sponsor to have to enforce the code.”

49.      Defendant DISTRICT 202 policy prohibits its student-athletes from activities

         involving harassment, hazing, and bullying, as defined by school policy.

50.      Violations of the DISTRICT 202 “Athletic Code” which may result in disciplinary

         action include:

            harassment, hazing, or bullying;
            assault or battery;
            gross misconduct; and/or
            Other major violations as defined in student handbook.

      Students found guilty of violating the Athletic Code will be subject to a quarter season

      suspension for a first offense, a half season for a second offense, one calendar year for a

      third offense, and for the remainder of the athlete’s career for a fourth offense.




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   51.    The Athletic Code mandates that athletes must attend all practices and games while

          serving athletic suspensions.



Doe Child A & B are assaulted by Varsity Plainfield Central Football Team members

   52.    DOE CHILD A & B began attending Plainfield Central High School on the first day of

          the 2019-2020 academic year.

   53.    On or about September 2019, DOE CHILD A & B joined the Plainfield Central High

          School football team.

   54.    During practices and games during the 2019 Plainfield Central High School football

          season, coaches would not monitor the locker room, despite knowledge of past hazing

          and assaults.

   55.    On October 16, 2019, two unidentified Freshmen members of the Plainfield Central

          High School football team were sexually assaulted with a broomstick by unidentified

          assailants in the Plainfield Central football locker room.

   56.    On the afternoon of October 17, 2019, the Plainfield Central High School football

          team was holding football practice.

   57.    One unidentified Freshman member of the Plainfield Central Football team was

          sexually assaulted with a broomstick in the manner described above, and “tea-bagged”

          by a Varsity player prior to the end of practice at around 3 p.m., on October 17, 2019.

   58.    The Varsity Football practice ended at around 4:45 p.m., and the players were sent to

          the locker room with coaches on staff to monitor, as required by school policy.

   59.    On the afternoon of October 17, 2019, the Plainfield Central High School Football

          Freshman “A Team”, including members DOE CHILD A, B, and a third Freshman



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      team member, DOE CHILD C, had just finished practice and the “B Team” was

      preparing for the Freshmen B game, which was set to begin at 5:00 p.m.

60.   DOE CHILD A, B, and C had just finished practice on the afternoon of October 17,

      2019 and were in the Plainfield High School Football locker room when suddenly 10-

      20 members of the varsity team stormed into the locker room, including four varsity

      members, hereinafter referred to as “Varsity Assailants.”

61.   At that time, the Varsity players were taking part in traditions known as “grab-assing”

      and “nut tapping.”

62.   At that time, a sophomore member of the team looked toward DOE CHILD A and told

      him to “run.”

63.   DOE CHILD C then fled the locker room.

64.   The members of the Varsity team then blocked all routes of escape from the locker

      room.

65.   Between 10-20 members of the varsity team then surrounded DOE CHILD A & B and

      DOE CHILD A attempted to flee.

66.   Three Varsity Assailants and others shouted “Code Blue!”

67.   Three Varsity Assailants and others shouted “Get the Broom!”

68.   DOE CHILD A tried to jump over a locker in an attempt to escape.

69.   DOE CHILD A slipped as he tried to escape.

70.   DOE CHILD A was dragged down from the lockers by a Varsity player.

71.   DOE CHILD B was told by the four Varsity Assailants and others “get down and take

      it or we’ll make you take it.”

72.   The four Varsity Assailants and others, repeatedly shouted “get him in the taint!”



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   73.    The four Varsity Assailants then grabbed DOE CHILD A & B and violently threw them

          to the ground.

   74.    Three Varsity Assailants then held DOE CHILD A & B down on the ground.

   75.    One Varsity Assailant then grabbed a broom from beside his locker.

   76.    One Varsity Assailant then forced the broom handle between and through the buttocks

          of DOE CHILD A & B, resulting in penetration and causing the broom handle to snap

          in two.

   77.    Not a single teammate of DOE CHILD A & B intervened on their behalf.

   78.    The Varsity team members then released DOE CHILD A & B.

   79.    A sophomore student then told DOE CHILD A “You didn’t get it as hard as we did,

          you had it easy.”

   80.    A Varsity team member then told DOE CHILD A “Now you’re a ‘G.’”

   81.    DOE CHILD A then left the locker room and immediately informed Defendant

          MODERHACK of the assault.



Aftermath of the Assaults of Doe Child A & B

   82.    On the evening of October 17, 2019, Defendants MODERHACK, PEREIRO, and

          VASQUEZ were working as coaches for the Plainfield Central Varsity Football team.

   83.    Prior to 5:15 p.m., an “A Team” player informed Defendant VASQUEZ that several

          “A Team” members were getting broom sticks forced between and through their

          buttocks resulting in penetration in the locker room.




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84.   Defendants VASQUEZ, MODERHACK, and PEREIRO recognized the term “Code

      Blue” and knew that it referred to specific prior instances of sexual assault of Freshmen

      members of the Plainfield Central Varsity Football Team.

85.   As a result of Defendant VASQUEZ’s recognition of the term “Code Blue” and

      knowledge of specific prior instances of sexual assault of team members, Defendant

      VASQUEZ called Defendant MODERHACK on the phone, and stated an “A Team”

      player mentioned that “A Team” players were not out on the field supporting their “B

      Team” yet because they were still in the locker room getting broom sticks forced

      between their buttocks resulting in penetration.

86.   Several minutes later, Defendants VASQUEZ and PEREIRO went into the locker room

      and found it empty.

87.   Thereafter, Defendant MODERHACK was informed that a “Code Blue” had been

      called, and that DOE CHILD A and DOE CHILD B had been attacked.

88.   Approximately fifteen minutes later, DOE CHILD B told Defendant MODERHACK

      that at least fifteen (15) Varsity players surrounded and attacked him and DOE CHILD

      A in the manner described above.

89.   Defendant MODERHACK made DOE CHILD B repeat his description of the

      occurrence to Defendant PEREIRO.

90.   At around 6:00 p.m., DOE CHILD A told Defendant MODERHACK that a “Code

      Blue” had been called and that he had been penetrated by the broom stick.

91.   At approximately 6:15 p.m., three of the Varsity Assailants. were allowed to approach

      DOE CHILD A while he was standing on the sideline of the “B Team” game with

      Defendant MODERHACK.



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92.    Three of the Varsity Assailants then accused DOE CHILD A of snitching and telling

       his mother about the attack.

93.    DOE CHILD A denied snitching or saying anything about the attack.

94.    One Varsity Assailant informed DOE CHILD A that this had happened to him and

       other Assailants as Freshmen

95.    Three of the Varsity Assailants then remained on the scene near the south endzone Wile

       DOE CHILD A & B were present.

96.    The Varsity team member who assaulted DOE CHILD A & B then approached

       Defendant MODERHACK and DOE CHILD A while they were talking about the

       assault and said “it was just a joke.”

97.    After practice had ended Defendant PEREIRO called JOHN and JANE DOE A and

       informed them that there had been “an incident” in the football locker room and that

       there would be a meeting the next morning, but did not report that DOE CHILD A had

       been sexually assaulted.

98.    Later that night, DOE CHILD A’s brother and sister then told JOHN and JANE DOE

       A that the aforementioned acts had been forced on DOE CHILD A.

99.    After practice had ended Defendant PEREIRO called JOHN DOE B and informed him

       that there had been “an incident” in the locker room but did not report that DOE CHILD

       B had been sexually assaulted.

100.   It is a custom, tradition, ritual and/or long-standing practice for members of the

       Plainfield Central Varsity Football Team to target, engage in hazing of a sexual nature,

       and shove a broomstick between and through the buttocks of Freshmen members of the




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       team resulting in penetration, and this was well-known by Defendants MODERHACK,

       PEREIRO, and VASQUEZ.

101.   Defendants MODERHACK, PEREIRO, and VASQUEZ knew that “Code Blue” was

       a long-standing custom, tradition, or practice within the Plainfield Central Varsity

       Football that included sexually assaulting Freshmen members of the team as a rite of

       passage and bonding ritual.

102.   Defendants MODERHACK, PEREIRO, and VASQUEZ knew, or should have known,

       that the Plainfield Central High School Varsity Football Team had a long-standing

       custom, tradition, or practice of assaulting team members in a sexual manner.

103.   Defendants MODERHACK, PEREIRO, and VASQUEZ sanctioned and did nothing to

       end the custom, tradition, or practice of assaulting team members in a sexual manner.

104.   Defendants MODERHACK, PEREIRO, and VASQUEZ perpetuated the custom,

       tradition, or practice of engaging in hazing of a sexual nature and assaulting team

       members in a sexual manner by allowing these assaults to continue despite having

       knowledge of them.

105.   Years before DOE CHILD A & B were hazed at Plainfield Central High School,

       Defendants knew, or should have known, that Plainfield Central High School’s football

       team had a custom, tradition, or practice of engaging in hazing of a sexual nature.

106.   In the years before DOE CHILD A & B were hazed at Plainfield Central High School,

       Defendants took no action to end, and tacitly sanctioned the aforementioned custom,

       tradition, or practice of engaging in hazing of a sexual nature.




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Plainfield Central High School Meeting on October 18, 2019

   107.   Upon information and belief, the Plainfield Central High School administration and

          football coaching staff took no further action regarding addressing hazing on the

          football team until after the incident occurring on October 17, 2019.

   108.   On October 18, 2019, parents of the students in the Plainfield Central Football program

          that were present during the October 17, 2019 incident, including JANE DOE A and

          JOHN DOE B, were asked to attend a meeting addressing the incident on October 18,

          2019.

   109.   On October 18, 2019 JANE DOE A and DOE CHILD A, and JOHN DOE B and DOE

          CHILD B attended the meeting relating to the hazing incident at Plainfield Central

          High School.

   110.   Defendants MODERHACK, PEREIRO, and VASQUEZ, as well as Matt Ambrose, the

          Athletic Director for Plainfield Central High School, Mark Krusz, the Assistant

          Principal for Plainfield Central High School, and Matt Lehman, resource officer for

          Plainfield Central High School, were present during the October 18, 2019 meeting.

   111.   When JANE DOE A and DOE CHILD A arrived to the meeting, one of the Varsity

          Assailants was waiting outside the room where the meeting would be held.

   112.   When JANE DOE A, DOE CHILD A, JOHN DOE B, and DOE CHILD B arrived, Mr.

          Krusz asked them if they needed anything, but refused to address the October 17, 2019

          incident.

   113.   Shortly thereafter, another parent asked Mr. Krusz if the students were monitored in

          the locker room at the time of the incident.

   114.   In response, Mr. Krusz told the parents that he had no idea what happened.



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115.   In response, Mr. Krusz said “oh boy” and nothing more.

116.   Thereafter, JANE DOE A asked Mr. Krusz whether DISTRICT 202 had any

       monitoring policies in place for its locker rooms.

117.   In response, Mr. Krusz admitted that a coach, teacher, or faculty member is always

       required to be in the locker rooms when students are present.

118.   Defendant MODERHACK then interrupted and said that previously a coach would be

       present in the locker rooms, but students complained that they were uncomfortable with

       the monitoring.

119.   As the parents demanded answers, Mr. Lehman stated “I can’t protect 2,000 kids.”

120.   The parents and students were then separated.

121.   Defendants MODERHACK, VASQUEZ, PEREIRO, and Mr. Ambrose, Mr. Krusz,

       and Officer Lehman placed JANE DOE A and DOE CHILD A alone in a room apart

       from JOHN DOE B and DOE CHILD B.

122.   Defendants MODERHACK, VASQUEZ, PEREIRO, and Mr. Ambrose, Mr. Krusz,

       and Officer Lehman, then separated DOE CHILD B from his parent, JOHN DOE B

       and placed him in a room with DOE CHILD C without his parents present.

123.   After being separated from JOHN DOE B, DOE CHILD B was directed to give a

       written statement by Officer LEHMAN without his legal guardian present.

124.   At the conclusion of the meeting, JANE DOE A and JOHN DOE B were told to follow

       up with Officer Lehman regarding the status of the investigation into the assaults.

125.   On October 21, 2019, JANE DOE A called Officer Lehman and asked what the school

       was doing to keep DOE CHILD A safe.




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126.   Officer Lehman stated that he couldn’t tell JANE DOE A whether any of the students

       responsible for the assaults had been punished or sanctioned, but that DISTRICT 202

       took the allegations very seriously.

127.   Similarly, despite following up numerous times regarding the status of any

       investigation or punishment for the students responsible, and assurance that Officer

       Lehman ultimately stopped returning JOHN and JANE DOE B’s phone calls.

128.   JOHN and JANE DOE B only learned that the students responsible had been punished

       in any way through media reports surrounding the incident.

129.   Upon information and belief, four of the students who participated in the assault were

       punished only with a three-day suspension.

130.   Other members of the football team responsible for intimidating, coercing, bullying

       and forcing the performance of sexual acts of hazing on October 17, 2019 have received

       little to no punishment.

131.   Since the outset of the investigation by the Plainfield Central High School

       administration and when rumors of the incidents involving the Plainfield Central

       Football Team came to light, the students who were forced to take part have been

       subjected to retaliation and have been actively sought out by their teammates.

132.   Since the date of the occurrence DOE CHILD A & B have been subjected to

       widespread bullying, harassment, and threats.

133.   Since the occurrence, both in person and on social media, DOE CHILD A has been

       called a “sissy”, has been gaslighted by students telling him that “nobody raped” him,

       and ridiculed because he “went and cried ‘rape.’”




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134.   Since the occurrence, DOE CHILD B has been subjected to in person and online

       harassment and bullying, including his peers chanting “broomstick” at him while

       competing in basketball games.

135.   Since the occurrence, members of the Plainfield Central football team have threatened

       DOE CHILD B by saying “we’re going to crush your head in.”

136.   For a significant amount of time after the occurrence, Defendant DISTRICT 202

       refused to sign a release for the Illinois High School Association that would allow DOE

       CHILD B to compete for another team.

137.   For a significant amount of time after the occurrence, Defendant DISTRICT 202

       refused to grant a Student Transfer Request to DOE CHILD A.

138.   As a result, DOE CHILD A and B are now known within their community to be

       survivors of sexual assault and hazing.


139.   In the years before DOE CHILD A or B was subjected to hazing that is sexual in nature,

       the Plainfield Central High School administration and coaching staff took no action to

       end, and tacitly sanctioned, the custom, tradition, or practice of assaulting team

       members in a sexual manner.



 COUNT I—WILLFUL AND WANTON CONDUCT—RESPONDEAT SUPERIOR
(John and Jane Doe A, individually and as parents and next friends of Doe Child A, a
                              minor vs. District 202)

140.   Plaintiffs incorporate by reference all preceding paragraphs.

141.   During the 2019-2020 academic year, DISTRICT 202; by and through its actual agents,

       apparent agents, employees and/or servants: Defendants MODERHACK, PEREIRO,

       and VASQUEZ; had a duty to refrain from acting with an utter indifference and/or


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       conscious disregard for the safety of District 202 students attending Plainfield Central

       High School, including DOE CHILD A.

142.   On and prior to October 17, 2019, by and through its actual agents, apparent agents,

       employees and/or servants Defendants MODERHACK, PEREIRO, and VASQUEZ;

       DISTRICT 202 recognized the term “Code Blue” and understood it to refer to specific

       prior instances where senior members of the Plainfield Central Varsity Football Team

       sexually assaulted Freshmen members of the team.

143.   On and prior to October 17, 2019, by and through its actual agents, apparent agents,

       employees and/or servants Defendants MODERHACK, PEREIRO, and VASQUEZ;

       DISTRICT 202 recognized the term “Code Blue” to refer to the custom, tradition, or

       practice of senior members of the Plainfield Central Varsity Football Team assaulting

       Freshmen members of the team in a sexual manner.

144.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

145.   DISTRICT 202 purports to follow a policy that prohibits hazing or any kind of bullying

       or aggressive behavior that does physical or psychological harm to a staff person or

       another student. Prohibited conduct specifically includes, without limitation, any use

       of violence, intimidation, force, threats, stalking, harassment, sexual harassment, public

       humiliation, retaliation, hazing, bullying, or other comparable conduct during any

       school sponsored education program or activity and while at the school or on its

       property.


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146.   DISTRICT 202 purports to follow policies that require:

       a. Monitoring of students any time students are present in Plainfield Central High
          School locker rooms;
       b. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       c. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       d. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;
       e. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       f. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       g. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

147.   DISTRICT 202, by and through its actual agents, apparent agents, employees and/or

       servants: Defendants MODERHACK, PEREIRO, and VASQUEZ breached their duty

       to DOE CHILD A in one or more of the following ways:

       a. Knew or should have known that by not monitoring the locker room, acts of
          bullying, harassment, and sexual assault could occur;
       b. Knew or should have known about the traditions of Plainfield Central High School,
          which included hazing and bullying of a sexual nature;
       c. Knew or should have known that bullying and hazing was so prevalent that
          unwilling participants were forced to take part in acts that were assaultive, illegal,
          and often sexual in nature;
       d. Knew or should have known that their failure to monitor the locker rooms of
          Plainfield Central High School posed a high probability of serious harm to students,
          including DOE CHILD A;
       e. Recklessly or consciously disregarded the substantial risks posed by failing
          altogether to monitor the locker rooms of Plainfield Central High School;
       f. Recklessly or consciously disregarded the substantial risks that actions were
          perpetrated against DOE CHILD A;
       g. Knew or should have known they were violating DISTRICT 202 policy by allowing
          the tradition of “Code Blue” to occur and continue unreported; and/or
       h. Was otherwise willful and wanton in their conscious disregard of the safety of
          Plaintiff.

148.   As a direct and proximate result of these willful and wanton acts and/or omissions,

       DOE CHILD A sustained serious injuries and suffered severe emotional distress.


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   WHEREFORE, Plaintiffs JOHN and JANE DOE A, individually and as parents and next

friends of DOE CHILD A, a minor, pray for judgment against DISTRICT 202, for money

damages in excess of FIFTY THOUSAND DOLLARS ($50,000), interest on any damages

awarded, and costs incurred in bringing this action.



               COUNT II—WILLFUL AND WANTON CONDUCT
(John and Jane Doe A, individually and as parents and next friends of Doe Child A, a
                    minor vs. Moderhack, Pereiro, Vasquez)

149.   Plaintiffs incorporate by reference all preceding paragraphs.

150.   During the 2019-2020 academic year, Defendants MODERHACK, PEREIRO, and

       VASQUEZ had a duty to refrain from acting with an utter indifference and/or conscious

       disregard for the safety of DISTRICT 202 students attending Plainfield Central High

       School, including DOE CHILD A.

151.   On and prior to October 17, 2019, Defendants MODERHACK, PEREIRO, and

       VASQUEZ recognized the term “Code Blue” and understood it to refer to specific prior

       instances where senior members of the Plainfield Central Varsity Football Team

       sexually assaulted Freshmen members of the team.

152.   On and prior to October 17, 2019, Defendants MODERHACK, PEREIRO, and

       VASQUEZ recognized the term “Code Blue” to refer to the custom, tradition, or

       practice of senior members of the Plainfield Central Varsity Football Team assaulting

       Freshmen members of the team in a sexual manner.

153.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a




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       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

154.   DISTRICT 202 purports to follow a policy that prohibits hazing or any kind of bullying

       or aggressive behavior that does physical or psychological harm to a staff person or

       another student. Prohibited conduct specifically includes, without limitation, any use

       of violence, intimidation, force, threats, stalking, harassment, sexual harassment, public

       humiliation, retaliation, hazing, bullying, or other comparable conduct during any

       school sponsored education program or activity and while at the school or on its

       property.

155.   DISTRICT 202 purports to follow policies that require:

       a. Monitoring of students any time students are present in Plainfield Central High
          School locker rooms;
       b. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       c. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       d. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;
       e. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       f. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       g. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

156.   Defendants MODERHACK, PEREIRO, and VASQUEZ breached their duty to DOE

       CHILD A in one or more of the following ways:

       a. Knew or should have known that by not monitoring the locker room, acts of
          bullying, harassment, and sexual assault could occur;
       b. Knew or should have known about the traditions of Plainfield Central High School,
          which included hazing and bullying of a sexual nature;




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       c. Knew or should have known that bullying and hazing was so prevalent that
          unwilling participants were forced to take part in acts that were assaultive, illegal,
          and often sexual in nature;
       d. Knew or should have known that their failure to monitor the locker rooms of
          Plainfield Central High School posed a high probability of serious harm to students,
          including DOE CHILD A;
       e. Recklessly or consciously disregarded the substantial risks posed by failing
          altogether to monitor the locker rooms of Plainfield Central High School;
       f. Recklessly or consciously disregarded the substantial risks that actions were
          perpetrated against DOE CHILD A;
       g. Knew or should have known they were violating DISTRICT 202 policy by allowing
          the tradition of “Code Blue” to occur and continue unreported; and/or
       h. Were otherwise willful and wanton in their conscious disregard of the safety of
          Plaintiff.

157.   As a direct and proximate result of these willful and wanton acts and/or omissions,

       DOE CHILD A sustained serious injuries and suffered severe emotional distress.

   WHEREFORE, Plaintiffs JOHN and JANE DOE A, individually and as parents and next

friends of DOE CHILD A, a minor, pray for judgment against Defendants MODERHACK,

PEREIRO, and VASQUEZ for money damages in excess of FIFTY THOUSAND DOLLARS

($50,000), interest on any damages awarded, and costs incurred in bringing this action.



COUNT III—WILLFUL AND WANTON CONDUCT—RESPONDEAT SUPERIOR
(John and Jane Doe B, individually and as parents and next friends of Doe Child B, a
                              minor vs. District 202)

158.   Plaintiffs incorporate by reference all preceding paragraphs.

159.   During the 2019-2020 academic year, DISTRICT 202; by and through its actual agents,

       apparent agents, employees and/or servants: Defendants MODERHACK, PEREIRO,

       and VASQUEZ; had a duty to refrain from acting with an utter indifference and/or

       conscious disregard for the safety of DISTRICT 202 students attending Plainfield

       Central High School, including DOE CHILD B.




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160.   On and prior to October 17, 2019, by and through its actual agents, apparent agents,

       employees and/or servants Defendants MODERHACK, PEREIRO, and VASQUEZ;

       DISTRICT 202 recognized the term “Code Blue” and understood it to refer to specific

       prior instances where senior members of the Plainfield Central Varsity Football Team

       sexually assaulted Freshmen members of the team.

161.   On and prior to October 17, 2019, by and through its actual agents, apparent agents,

       employees and/or servants Defendants MODERHACK, PEREIRO, and VASQUEZ;

       DISTRICT 202 recognized the term “Code Blue” to refer to the custom, tradition, or

       practice of senior members of the Plainfield Central Varsity Football Team assaulting

       Freshmen members of the team in a sexual manner.

162.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

163.   DISTRICT 202 purports to follow a policy that prohibits hazing or any kind of bullying

       or aggressive behavior that does physical or psychological harm to a staff person or

       another student. Prohibited conduct specifically includes, without limitation, any use

       of violence, intimidation, force, threats, stalking, harassment, sexual harassment, public

       humiliation, retaliation, hazing, bullying, or other comparable conduct during any

       school sponsored education program or activity and while at the school or on its

       property.

164.   DISTRICT 202 purports to follow policies that require:

       a. Monitoring of students any time students are present in Plainfield Central High
          School locker rooms;

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       b. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       c. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       d. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;
       e. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       f. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       g. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

165.   DISTRICT 202, by and through its actual agents, apparent agents, employees and/or

       servants: Defendants MODERHACK, PEREIRO, and VASQUEZ breached their duty

       to DOE CHILD B in one or more of the following ways:

       a. Knew or should have known that by not monitoring the locker room, acts of
          bullying, harassment, and sexual assault could occur;
       b. Knew or should have known about the traditions of Plainfield Central High School,
          which included hazing and bullying of a sexual nature;
       c. Knew or should have known that bullying and hazing was so prevalent that
          unwilling participants were forced to take part in acts that were assaultive, illegal,
          and often sexual in nature;
       d. Knew or should have known that their failure to monitor the locker rooms of
          Plainfield Central High School posed a high probability of serious harm to students,
          including DOE CHILD B;
       e. Recklessly or consciously disregarded the substantial risks posed by failing
          altogether to monitor the locker rooms of Plainfield Central High School;
       f. Recklessly or consciously disregarded the substantial risks that actions were
          perpetrated against DOE CHILD B;
       g. Recklessly or consciously disregarded the substantial risks that actions were
          perpetrated against DOE CHILD A;
       h. Knew or should have known they were violating DISTRICT 202 policy by allowing
          the tradition of “Code Blue” to occur and continue unreported; and/or
       i. Was otherwise willful and wanton in their conscious disregard of the safety of
          Plaintiff.

166.   As a direct and proximate result of these willful and wanton acts and/or omissions,

       DOE CHILD B sustained serious injuries and suffered severe emotional distress.




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   WHEREFORE, Plaintiffs JOHN and JANE DOE B, individually and as parents and next

friends of DOE CHILD B, a minor, pray for judgment against Defendant DISTRICT 202 for

money damages in excess of FIFTY THOUSAND DOLLARS ($50,000), interest on any

damages awarded, and costs incurred in bringing this action.


              COUNT IV—WILLFUL AND WANTON CONDUCT
(John and Jane Doe B, individually and as parents and next friends of Doe Child B, a
                  minor vs. Moderhack, Pereiro, and Vasquez)

167.   Plaintiffs incorporate by reference all preceding paragraphs.

168.   During the 2019-2020 academic year, Defendants MODERHACK, PEREIRO, and

       VASQUEZ had a duty to refrain from acting with an utter indifference and/or conscious

       disregard for the safety of DISTRICT 202 students attending Plainfield Central High

       School, including DOE CHILD B.

169.   On and prior to October 17, 2019, Defendants MODERHACK, PEREIRO, and

       VASQUEZ recognized the term “Code Blue” and understood it to refer to specific prior

       instances where senior members of the Plainfield Central Varsity Football Team

       sexually assaulted Freshmen members of the team.

170.   On and prior to October 17, 2019, Defendants MODERHACK, PEREIRO, and

       VASQUEZ recognized the term “Code Blue” to refer to the custom, tradition, or

       practice of senior members of the Plainfield Central Varsity Football Team assaulting

       Freshmen members of the team in a sexual manner.

171.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

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172.   DISTRICT 202 purports to follow a policy that prohibits hazing or any kind of bullying

       or aggressive behavior that does physical or psychological harm to a staff person or

       another student. Prohibited conduct specifically includes, without limitation, any use

       of violence, intimidation, force, threats, stalking, harassment, sexual harassment, public

       humiliation, retaliation, hazing, bullying, or other comparable conduct during any

       school sponsored education program or activity and while at the school or on its

       property.

173.   DISTRICT 202 purports to follow policies that require:

       a. Monitoring of students any time students are present in Plainfield Central High
          School locker rooms;
       b. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       c. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       d. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;
       e. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       f. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       g. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

174.   Defendants MODERHACK, PEREIRO, and VASQUEZ breached their duty to DOE

       CHILD B in one or more of the following ways:

       a. Knew or should have known that by not monitoring the locker room, acts of
          bullying, harassment, and sexual assault could occur;
       b. Knew or should have known about the traditions of Plainfield Central High School,
          which included hazing and bullying of a sexual nature;
       c. Knew or should have known that bullying and hazing was so prevalent that
          unwilling participants were forced to take part in acts that were assaultive, illegal,
          and often sexual in nature;
       d. Knew or should have known that their failure to monitor the locker rooms of
          Plainfield Central High School posed a high probability of serious harm to students,
          including DOE CHILD B;


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       e. Recklessly or consciously disregarded the substantial risks posed by failing
          altogether to monitor the locker rooms of Plainfield Central High School;
       f. Recklessly or consciously disregarded the substantial risks that actions were
          perpetrated against DOE CHILD B;
       g. Recklessly or consciously disregarded the substantial risks that actions were
          perpetrated against DOE CHILD A;
       h. Knew or should have known they were violating DISTRICT 202 policy by allowing
          the tradition of “Code Blue” to occur and continue unreported; and/or
       i. Were otherwise willful and wanton in their conscious disregard of the safety of
          Plaintiff.

175.   As a direct and proximate result of these willful and wanton acts and/or omissions,

       DOE CHILD B sustained serious injuries and suffered severe emotional distress.

   WHEREFORE, Plaintiffs JOHN and JANE DOE B, individually and as parents and next

friends of DOE CHILD B, a minor, pray for judgment against Defendants MODERHACK,

PEREIRO, and VASQUEZ for money damages in excess of FIFTY THOUSAND DOLLARS

($50,000), interest on any damages awarded, and costs incurred in bringing this action.



       COUNT V—CIVIL RIGHTS VIOLATION UNDER 42 U.S.C § 1983:
                        SUBSTANTIVE DUE PROCESS
(John and Jane Doe A, individually and as parents and next friends of Doe Child A, a
                    minor vs. Moderhack, Pereiro, Vasquez)

176.   Plaintiffs incorporate by reference all preceding paragraphs.

177.   That DOE CHILD A has a clearly established right to equal access to all benefits and

       privileges of a public education and a right to be free from said illegal practices and

       policies.

178.   That at all relevant times Defendants MODERHACK, PEREIRO, and VASQUEZ

       were acting under color of state law.




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179.   The actions and omissions of Defendants MODERHACK, PEREIRO, and VASQUEZ

       as described above, were arbitrary and capricious, and were not rationally related to

       any legitimate interest.

180.   As a result of Defendants' actions, DOE CHILD A suffered a deprivation of his rights

       secured to him by the Fourteenth Amendment to the United States Constitution, and is

       thus entitled to an award of monetary damages from the individual Defendants.

181.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

182.   DISTRICT 202 purports to follow a policy, outlined in the Handbook, that prohibits

       hazing or any kind of bullying or aggressive behavior that does physical or

       psychological harm to a staff person or another student. Prohibited conduct specifically

       includes, without limitation, any use of violence, intimidation, force, threats, stalking,

       harassment, sexual harassment, public humiliation, retaliation, hazing, bullying, or

       other comparable conduct during any school sponsored education program or activity

       and while at the school or on its property.

183.   DISTRICT 202 purports to follow a policy, outlined in its Student Handbook, that

       requires:

       h. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       i. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       j. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;




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       k. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       l. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       m. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

184.   DISTRICT 202 policy was not followed by Defendant SCHOOL DISTRICT 202

       employees in that:

       a. Students involved with the hazing, harassment, bullying, abuse, and other unlawful
          treatment were not subject to adequate disciplinary measures;
       b. Investigations into the allegations by DOE CHILD A were not promptly initiated
          by the agents and/or employees of Defendant DISTRICT 202;
       c. Students who engaged in the hazing, harassment, bullying, abuse, and other
          unlawful treatment of DOE CHILD A were allowed to continue participating in
          practices and be present in the locker room without adequate reprimand;
       d. Upon information and belief, students who engaged in hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD A were not removed
          from the football team; and/or
       e. Otherwise violated school policy.

185.   DISTRICT 202 Policy, and thereby Illinois law contained in the Bullying Prevention

       Act, was not being followed at Plainfield Central High School during DOE CHILD A’s

       attendance and was not followed in the case of DOE CHILD A’s hazing, harassment,

       bullying, abuse, and other unlawful treatment, and in this action and omission

       Defendants MODERHACK, PEREIRO, and VASQUEZ were deliberately indifferent

       to DOE CHILD A and his subsequent deprivation of rights.

186.   Defendants’ deliberate indifference to DOE CHILD A’s safety, DISTRICT 202 policy,

       and the law demonstrate an obvious need for training regarding hazing, harassment,

       bullying, discipline, reporting obligations, monitoring, policy and legal requirements.

187.   Defendants had a duty to observe and monitor DOE CHILD A during football games,

       football practices, and inside athletic locker rooms and they failed to do so.



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188.   As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

       A suffered and continues to suffer a deprivation of his rights secured to him by the

       Fourteenth Amendment to the United States Constitution, and is thus entitled to an

       award of monetary damages from the individual Defendants.

189.   As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

       A suffered and continues to suffer severe mental and emotional distress, humiliation,

       shame, embarrassment, fear, and anxiety and has resulted in permanent damage to his

       social and emotional well-being, and is thus entitled to an award of monetary damages

       from the individual Defendants.

   WHEREFORE, Plaintiffs JOHN AND JANE DOE A, individually and as parents and next

friends of DOE CHILD A, pray for judgment against Defendants MODERHACK, PEREIRO,

and VASQUEZ for money damages in excess of SEVENTY-FIVE THOUSAND DOLLARS

($75,000), interest on any damages awarded, and costs incurred in bringing this action.

       COUNT VI—CIVIL RIGHTS VIOLATION UNDER 42 U.S.C § 1983:
                        SUBSTANTIVE DUE PROCESS
(John and Jane Doe B, individually and as parents and next friends of Doe Child B, a
                  minor vs. Moderhack, Pereiro, and Vasquez)

190.   Plaintiffs incorporate by reference all preceding paragraphs.

191.   That DOE CHILD B has a clearly established right to equal access to all benefits and

       privileges of a public education and a right to be free from said illegal practices and

       policies.

192.   That at all relevant times Defendants MODERHACK, PEREIRO, and VASQUEZ

       were acting under color of state law.




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193.   The actions and omissions of Defendants MODERHACK, PEREIRO, and VASQUEZ

       as described above, were arbitrary and capricious, and were not rationally related to

       any legitimate interest.

194.   As a result of Defendants' actions, DOE CHILD B suffered a deprivation of his rights

       secured to him by the Fourteenth Amendment to the United States Constitution, and is

       thus entitled to an award of monetary damages from the individual Defendants.

195.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

196.   DISTRICT 202 purports to follow a policy, outlined in the Handbook, that prohibits

       hazing or any kind of bullying or aggressive behavior that does physical or

       psychological harm to a staff person or another student. Prohibited conduct specifically

       includes, without limitation, any use of violence, intimidation, force, threats, stalking,

       harassment, sexual harassment, public humiliation, retaliation, hazing, bullying, or

       other comparable conduct during any school sponsored education program or activity

       and while at the school or on its property.

197.   DISTRICT 202 purports to follow a policy, outlined in its Student Handbook, that

       requires:

       a. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       b. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       c. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;




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       d. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       e. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       f. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

198.   DISTRICT 202 policy was not followed by Defendant SCHOOL DISTRICT 202

       employees in that:

       a. Students involved with the hazing, harassment, bullying, abuse, and other unlawful
          treatment were not subject to adequate disciplinary measures;
       b. Investigations into the allegations by DOE CHILD B were not promptly initiated
          by the agents and/or employees of Defendant DISTRICT 202;
       c. Students who engaged in the hazing, harassment, bullying, abuse, and other
          unlawful treatment of DOE CHILD B were allowed to continue participating in
          practices and be present in the locker room without adequate reprimand;
       d. Upon information and belief, students who engaged in hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD B were not removed
          from the football team; and/or
       e. Otherwise violated school policy.

199.   DISTRICT 202 Policy, and thereby Illinois law contained in the Bullying Prevention

       Act, was not being followed at Plainfield Central High School during DOE CHILD B’s

       attendance and was not followed in the case of DOE CHILD B’s hazing, harassment,

       bullying, abuse, and other unlawful treatment, and in this action and omission

       Defendants MODERHACK, PEREIRO, and VASQUEZ were deliberately indifferent

       to DOE CHILD B and his subsequent deprivation of rights.

200.   Defendants’ deliberate indifference to DOE CHILD B’s safety, DISTRICT 202 policy,

       and the law demonstrate an obvious need for training regarding hazing, harassment,

       bullying, discipline, reporting obligations, monitoring, policy and legal requirements.

201.   Defendants had a duty to observe and monitor DOE CHILD B during football games,

       football practices, and inside athletic locker rooms and they failed to do so.



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  202.   As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

         B suffered and continues to suffer a deprivation of his rights secured to him by the

         Fourteenth Amendment to the United States Constitution, and is thus entitled to an

         award of monetary damages from the individual Defendants.

  203.   As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

         B suffered and continues to suffer severe mental and emotional distress, humiliation,

         shame, embarrassment, fear, and anxiety and has resulted in permanent damage to his

         social and emotional well-being, and is thus entitled to an award of monetary damages

         from the individual Defendants.

      WHEREFORE, Plaintiffs JOHN AND JANE DOE B, individually and as parents and next

  friends of DOE CHILD A, pray for judgment against Defendants MODERHACK, PEREIRO,

  and VASQUEZ for money damages in excess of SEVENTY-FIVE THOUSAND DOLLARS

  ($75,000), interest on any damages awarded, and costs incurred in bringing this action.

        COUNT VII – CIVIL RIGHTS VIOLATION UNDER 42 U.S.C. § 1983;
                           PROCEDURAL DUE PROCESS
(John and Jane Doe A, individual and as parents and next friends of Doe Child A, a minor
                         v. Moderhack, Pereiro, and Vasquez)

  204.   Plaintiffs incorporate by reference all preceding paragraphs.

  205.   That DOE CHILD A has a clearly established right to equal access to all benefits and

         privileges of a public education and a right to be free from said illegal practices and

         policies.

  206.   That at all relevant times Defendants MODERHACK, PEREIRO, and VASQUEZ

         were acting under color of state law.




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207.   The actions and omissions of Defendants MODERHACK, PEREIRO, and VASQUEZ

       as described above, were arbitrary and capricious, and were not rationally related to

       any legitimate interest.

208.   As a result of Defendants' actions, DOE CHILD A suffered a deprivation of his rights

       secured to him by the Fourteenth Amendment to the United States Constitution, and is

       thus entitled to an award of monetary damages from the individual Defendants.

209.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

210.   DISTRICT 202 purports to follow a policy, outlined in the Handbook, that prohibits

       hazing or any kind of bullying or aggressive behavior that does physical or

       psychological harm to a staff person or another student. Prohibited conduct specifically

       includes, without limitation, any use of violence, intimidation, force, threats, stalking,

       harassment, sexual harassment, public humiliation, retaliation, hazing, bullying, or

       other comparable conduct during any school sponsored education program or activity

       and while at the school or on its property.

211.   DISTRICT 202 purports to follow a policy, outlined in its Student Handbook, that

       requires:

       a. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       b. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       c. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;




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       d. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       e. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       f. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

212.   DISTRICT 202 policy was not followed by Defendant SCHOOL DISTRICT 202

       employees in that:

       a. Students involved with the hazing, harassment, bullying, abuse, and other unlawful
          treatment were not subject to adequate disciplinary measures;
       b. Investigations into the allegations by DOE CHILD A were not promptly initiated
          by the agents and/or employees of Defendant DISTRICT 202;
       c. Students who engaged in the hazing, harassment, bullying, abuse, and other
          unlawful treatment of DOE CHILD A were allowed to continue participating in
          practices and be present in the locker room without adequate reprimand;
       d. Upon information and belief, students who engaged in hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD A were not removed
          from the football team; and/or
       e. Otherwise violated school policy.

213.   DISTRICT 202 Policy, and thereby Illinois law contained in the Bullying Prevention

       Act, was not being followed at Plainfield Central High School during DOE CHILD A’s

       attendance and was not followed in the case of DOE CHILD A’s hazing, harassment,

       bullying, abuse, and other unlawful treatment, and in this action and omission

       Defendants MODERHACK, PEREIRO, and VASQUEZ were deliberately indifferent

       to DOE CHILD A and his subsequent deprivation of rights.

214.   Defendants’ deliberate indifference to DOE CHILD A’s safety, DISTRICT 202 policy,

       and the law demonstrate an obvious need for training regarding hazing, harassment,

       bullying, discipline, reporting obligations, monitoring, policy and legal requirements.

215.   Defendants had a duty to observe and monitor DOE CHILD A during football games,

       football practices, and inside athletic locker rooms and they failed to do so.



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   216.    As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

           A suffered and continues to suffer a deprivation of his rights secured to him by the

           Fourteenth Amendment to the United States Constitution, and is thus entitled to an

           award of monetary damages from the individual Defendants.

   217.    As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

           A suffered and continues to suffer severe mental and emotional distress, humiliation,

           shame, embarrassment, fear, and anxiety and has resulted in permanent damage to his

           social and emotional well-being, and is thus entitled to an award of monetary damages

           from the individual Defendants.

   WHEREFORE, Plaintiffs JOHN AND JANE DOE A, individually and as parents and next

friends of DOE CHILD A, pray for judgment against Defendants MODERHACK, PEREIRO, and

VASQUEZ for money damages in excess of SEVENTY-FIVE THOUSAND DOLLARS

($75,000), interest on any damages awarded, and costs incurred in bringing this action.


        COUNT VIII – CIVIL RIGHTS VIOLATION UNDER 42 U.S.C. § 1983;
                           PROCEDURAL DUE PROCESS
   (John and Jane Doe B, individually and as parents and next friends of Doe Child B, a
                      minor v. Moderhack, Pereiro, and Vasquez)

   218.    Plaintiffs incorporate by reference all preceding paragraphs.

   219.    That DOE CHILD B has a clearly established right to equal access to all benefits and

           privileges of a public education and a right to be free from said illegal practices and

           policies.

   220.    That at all relevant times Defendants MODERHACK, PEREIRO, and VASQUEZ

           were acting under color of state law.




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221.   The actions and omissions of Defendants MODERHACK, PEREIRO, and VASQUEZ

       as described above, were arbitrary and capricious, and were not rationally related to

       any legitimate interest.

222.   As a result of Defendants' actions, DOE CHILD B suffered a deprivation of his rights

       secured to him by the Fourteenth Amendment to the United States Constitution, and is

       thus entitled to an award of monetary damages from the individual Defendants.

223.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees and agents, Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

224.   DISTRICT 202 purports to follow a policy, outlined in the Handbook, that prohibits

       hazing or any kind of bullying or aggressive behavior that does physical or

       psychological harm to a staff person or another student. Prohibited conduct specifically

       includes, without limitation, any use of violence, intimidation, force, threats, stalking,

       harassment, sexual harassment, public humiliation, retaliation, hazing, bullying, or

       other comparable conduct during any school sponsored education program or activity

       and while at the school or on its property.

225.   DISTRICT 202 purports to follow a policy, outlined in its Student Handbook, that

       requires:

       a. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       b. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       c. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;




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       d. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       e. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and
       f. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

226.   DISTRICT 202 policy was not followed by Defendant SCHOOL DISTRICT 202

       employees in that:

       a. Students involved with the hazing, harassment, bullying, abuse, and other unlawful
          treatment were not subject to adequate disciplinary measures;
       b. Investigations into the allegations by DOE CHILD B were not promptly initiated
          by the agents and/or employees of Defendant DISTRICT 202;
       c. Students who engaged in the hazing, harassment, bullying, abuse, and other
          unlawful treatment of DOE CHILD B were allowed to continue participating in
          practices and be present in the locker room without adequate reprimand;
       d. Upon information and belief, students who engaged in hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD B were not removed
          from the football team; and/or
       e. Otherwise violated school policy.

227.   DISTRICT 202 Policy, and thereby Illinois law contained in the Bullying Prevention

       Act, was not being followed at Plainfield Central High School during DOE CHILD B’s

       attendance and was not followed in the case of DOE CHILD B’s hazing, harassment,

       bullying, abuse, and other unlawful treatment, and in this action and omission

       Defendants MODERHACK, PEREIRO, and VASQUEZ were deliberately indifferent

       to DOE CHILD B and his subsequent deprivation of rights.

228.   Defendants’ deliberate indifference to DOE CHILD B’s safety, DISTRICT 202 policy,

       and the law demonstrate an obvious need for training regarding hazing, harassment,

       bullying, discipline, reporting obligations, monitoring, policy and legal requirements.

229.   Defendants had a duty to observe and monitor DOE CHILD B during football games,

       football practices, and inside athletic locker rooms and they failed to do so.



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   230.    As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

           B suffered and continues to suffer a deprivation of his rights secured to him by the

           Fourteenth Amendment to the United States Constitution, and is thus entitled to an

           award of monetary damages from the individual Defendants.

   231.    As a direct and proximate result of the acts and omissions set forth above, DOE CHILD

           B suffered and continues to suffer severe mental and emotional distress, humiliation,

           shame, embarrassment, fear, and anxiety and has resulted in permanent damage to his

           social and emotional well-being, and is thus entitled to an award of monetary damages

           from the individual Defendants.

   WHEREFORE, Plaintiffs JOHN AND JANE DOE B, individually and as parents and next

friends of DOE CHILD A, pray for judgment against Defendants MODERHACK, PEREIRO, and

VASQUEZ for money damages in excess of SEVENTY-FIVE THOUSAND DOLLARS

($75,000), interest on any damages awarded, and costs incurred in bringing this action.


COUNT IX—CIVIL RIGHTS VIOLATION UNDER 42 U.S.C § 1983 (MONELL CLAIM)
  (John and Jane Doe A, individually and as parents and next friends of Doe Child A, a
                                minor vs. District 202)

   232.    Plaintiff incorporates by reference all preceding paragraphs.

   233.    The actions of Defendants resulted from, and were taken, pursuant to a de facto policy

           and widespread custom of not, monitoring or protecting students during football

           practices, football games, and their time in the athletic locker rooms at Plainfield

           Central High School and subsequently not reporting, sufficiently investigating or

           disciplining harassment, hazing, and bullying that occurs.

   234.    This de facto policy and widespread custom of Defendant SCHOOL DISTRICT 202 is

           implemented by Defendant MODERHACK, PEREIRO, and VASQUEZ, all acting


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       under the color of law, who chose to violate Plaintiff's constitutional rights, without

       rightful authority of law.

235.   The existence of the de facto policy and widespread custom described above has been

       known or should have been known to supervisory and policy making officers and

       officials of Defendant DISTRICT 202 for a substantial period of time.

236.   Despite their knowledge of the said illegal policy and practices, supervisory and

       policy-making officers and officials of the Defendant DISTRICT 202 has not taken

       steps to determine said practices, have not disciplined or otherwise properly supervised

       the individual employees who engaged in said practices, have not effectively trained

       the football coaches, including Defendants MODERHACK, PEREIRO, and

       VASQUEZ with regard to the proper constitutional and statutory limits on the exercise

       of their authority, and have instead sanctioned the policy and the practices described

       herein.

237.   That DOE CHILD A has a clearly established right to equal access to all benefits and

       privileges of a public education and a right to be free from offensive harassment in

       school.

238.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees, including Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

239.   DISTRICT 202 purports to follow a policy, outlined in the Handbook, that prohibits

       hazing or any kind of bullying or aggressive behavior that does physical or

       psychological harm to a staff person or another student. Prohibited conduct specifically


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       includes, without limitation, any use of violence, intimidation, force, threats, stalking,

       harassment, sexual harassment, public humiliation, retaliation, hazing, bullying, or

       other comparable conduct during any school sponsored education program or activity

       and while at the school or on its property.

240.   DISTRICT 202 purports to follow a policy, outlined in its Student Handbook, that

       requires:

       a. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       b. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       c. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;
       d. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       e. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and,
       f. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.

241.   DISTRICT 202 policy was not followed by Defendant DISTRICT 202 employees in

       that:

       a. Upon information and belief, the students who were involved with the hazing,
          harassment, bullying, abuse, and other unlawful treatment were not subject to
          adequate disciplinary measures;
       b. Upon information and belief, investigations into the allegations by DOE CHILD A
          were not promptly initiated by the agents and/or employees of Defendant
          DISTRICT 202;
       c. Upon and information and belief; students who engaged in the hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD A were allowed to
          continue participating in practices and be present in the locker room without
          adequate reprimand;
       d. Upon information and belief, students who engaged in hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD A were not removed
          from the football team;
       e. Otherwise violated school policy.




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242.   DISTRICT 202 policy was not being followed at Plainfield Central High School during

       DOE CHILD A’s attendance and was not followed in the case of DOE CHILD A’s

       hazing, harassment, bullying, abuse, and other unlawful treatment, and in this action

       and omission Defendant DISTRICT 202 was deliberately indifferent to DOE CHILD

       A and his subsequent deprivation of rights.

243.   Defendants’ deliberate indifference to DOE CHILD A’s safety and well-being and

       DISTRICT 202 policy demonstrate an obvious need for training regarding hazing,

       harassment, bullying, discipline, reporting obligations, and monitoring during athletic

       games, practices, and time in the athletic locker rooms.

244.   That the above actions and omissions by Defendants were deliberate and intentional

       and have resulted in violations of DOE CHILD A’s rights to due process and equal

       protection, all in violation of the Fourteenth Amendment to the United States

       Constitution.

245.   That by reason of the aforesaid actions, DISTRICT 202’s actions exhibit deliberate

       indifference to and/or reckless disregard for the constitutional rights of DOE CHILD

       A and other similarly situated students, all in violation of his constitutional rights, and

       as a direct and proximate result thereof, he sustained damages in an amount in excess

       of SEVENTY-FIVE THOUSAND DOLLARS ($75,000), interest on any damages

       awarded, and costs incurred in bringing this action.

   WHEREFORE, Plaintiffs JOHN and JANE DOE A, individually and as parents and next

friends of DOE CHILD A, pray for judgment against SCHOOL DISTRICT 202 for money

damages in excess of SEVENTY-FIVE THOUSAND DOLLARS ($75,000), interest on any

damages awarded, and costs incurred in bringing this action.



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COUNT X—CIVIL RIGHTS VIOLATION UNDER 42 U.S.C § 1983 (MONELL CLAIM)
 (John and Jane Doe B, individually and as parents and next friends of Doe Child B, a
                               minor vs. District 202)

  246.   Plaintiff incorporates by reference all preceding paragraphs.

  247.   The actions of Defendants resulted from, and were taken, pursuant to a de facto policy

         and widespread custom of not, monitoring or protecting students during football

         practices, football games, and their time in the athletic locker rooms at Plainfield

         Central High School and subsequently not reporting, sufficiently investigating or

         disciplining harassment, hazing, and bullying that occurs.

  248.   This de facto policy and widespread custom of Defendant SCHOOL DISTRICT 202 is

         implemented by Defendant MODERHACK, PEREIRO, and VASQUEZ, all acting

         under the color of law, who chose to violate Plaintiff's constitutional rights, without

         rightful authority of law.

  249.   The existence of the de facto policy and widespread custom described above has been

         known or should have been known to supervisory and policy making officers and

         officials of Defendant DISTRICT 202 for a substantial period of time.

  250.   Despite their knowledge of the said illegal policy and practices, supervisory and

         policy-making officers and officials of the Defendant DISTRICT 202 has not taken

         steps to determine said practices, have not disciplined or otherwise properly supervised

         the individual employees who engaged in said practices, have not effectively trained

         the football coaches, including Defendants MODERHACK, PEREIRO, and

         VASQUEZ with regard to the proper constitutional and statutory limits on the exercise

         of their authority, and have instead sanctioned the policy and the practices described

         herein.



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251.   That DOE CHILD B has a clearly established right to equal access to all benefits and

       privileges of a public education and a right to be free from offensive harassment in

       school.

252.   DISTRICT 202’s written policies and procedures, undertaking to implement and

       comply with Illinois’ Bullying Prevention Act (105 ILCS 5/27-23.7), establish a

       minimum standard of conduct for DISTRICT 202 employees, including Defendants

       MODERHACK, PEREIRO, and VASQUEZ.

253.   DISTRICT 202 purports to follow a policy, outlined in the Handbook, that prohibits

       hazing or any kind of bullying or aggressive behavior that does physical or

       psychological harm to a staff person or another student. Prohibited conduct specifically

       includes, without limitation, any use of violence, intimidation, force, threats, stalking,

       harassment, sexual harassment, public humiliation, retaliation, hazing, bullying, or

       other comparable conduct during any school sponsored education program or activity

       and while at the school or on its property.

254.   DISTRICT 202 purports to follow a policy, outlined in its Student Handbook, that

       requires:

       a. Students who violate the rights of others or district policies will be subject to
          disciplinary measures;
       b. Bullying during any school–sponsored activity and while on school property be
          prohibited;
       c. Prompt investigation and addressing of reports of bullying after reports of bullying
          are received;
       d. Prohibitions on engaging in hazing or urging others to engage in hazing in any form,
          including intimidation, coercion, threats, harassment, sexual harassment, public
          humiliation, retaliation, and bullying;
       e. Prohibitions on engaging in sexual activity, including indecent exposure and
          offensive touching, and violating any criminal law, including assault; and,
       f. Prohibitions on taking part in hazing and bullying activities during extracurricular
          activities and that doing so can result in removal from the activity.


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255.   DISTRICT 202 policy was not followed by Defendant DISTRICT 202 employees in

       that:

       a. Upon information and belief, the students who were involved with the hazing,
          harassment, bullying, abuse, and other unlawful treatment were not subject to
          adequate disciplinary measures;
       b. Upon information and belief, investigations into the allegations by DOE CHILD B
          were not promptly initiated by the agents and/or employees of Defendant
          DISTRICT 202;
       c. Upon and information and belief; students who engaged in the hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD B were allowed to
          continue participating in practices and be present in the locker room without
          adequate reprimand;
       d. Upon information and belief, students who engaged in hazing, harassment,
          bullying, abuse, and other unlawful treatment of DOE CHILD B were not removed
          from the football team;
       e. Otherwise violated school policy.

256.   DISTRICT 202 policy was not being followed at Plainfield Central High School during

       DOE CHILD B’s attendance and was not followed in the case of DOE CHILD B’s

       hazing, harassment, bullying, abuse, and other unlawful treatment, and in this action

       and omission Defendant DISTRICT 202 was deliberately indifferent to DOE CHILD

       B and his subsequent deprivation of rights.

257.   Defendants’ deliberate indifference to DOE CHILD B’s safety and well-being and

       DISTRICT 202 policy demonstrate an obvious need for training regarding hazing,

       harassment, bullying, discipline, reporting obligations, and monitoring during athletic

       games, practices, and time in the athletic locker rooms.

258.   That the above actions and omissions by Defendants were deliberate and intentional

       and have resulted in violations of DOE CHILD B’s rights to due process and equal

       protection, all in violation of the Fourteenth Amendment to the United States

       Constitution.




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   259.   That by reason of the aforesaid actions, DISTRICT 202’s actions exhibit deliberate

          indifference to and/or reckless disregard for the constitutional rights of DOE CHILD B

          and other similarly situated students, all in violation of his constitutional rights, and as

          a direct and proximate result thereof, he sustained damages in an amount in excess of

          SEVENTY-FIVE THOUSAND DOLLARS ($75,000), interest on any damages

          awarded, and costs incurred in bringing this action.

       WHEREFORE, Plaintiffs JOHN and JANE DOE B, individually and as parents and next

   friends of DOE CHILD B, pray for judgment against Defendant DISTRICT 202 for money

   damages in excess of SEVENTY-FIVE THOUSAND DOLLARS ($75,000), interest on any

   damages awarded, and costs incurred in bringing this action.



                    PRAYER FOR INJUNCTIVE DECLARATORY RELIEF


       WHEREFORE, Plaintiffs, JOHN & JANE DOE A, individually and as Parents and Next

Friends of DOE CHILD A, a minor, request judgment in their favor and pray for relief against

Defendants DISTRICT 202; MODERHACK, PEREIRO, and VASQUEZ as follows:


   260.   For an order declaring that Defendants DISTRICT 202, MODERHACK, PEREIRO,

          and VASQUEZ have acted with willful and wanton disregard to known acts of hazing;

   261.   For an order declaring that Defendants DISTRICT 202, MODERHACK, PEREIRO,

          and VASQUEZ have acted with willful and wanton disregard by failing to properly

          train DISTRICT 202 teachers, coaches, and staff how to properly monitor and

          discipline students who engage in hazing;

   262.   For a permanent injunction restraining and enjoining Defendants DISTRICT 202,

          MODERHACK, PEREIRO, and VASQUEZ from failing to adequately protect

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       Plaintiffs and other similarly situated students, from verbal and physical harassment

       within DISTRICT 202, including but not limited to assault, battery, and sexual assault;

263.   For a permanent injunction ordering Defendants DISTRICT 202, MODERHACK,

       PEREIRO, and VASQUEZ, to stop engaging in unlawful acts, and to develop policies

       and procedures for ending any such unlawful acts and the hostile and unsafe

       environment, including but not limited to the following:

          a. Require Defendant DISTRICT 202 to implement mandatory and effective
             training programs for District faculty, staff, coaches, and students on issues
             relating to hazing and bullying, and methods to intervene to stop students from
             hazing/bullying other students.
          b. Require Defendant DISTRICT 202 to adopt policies with specific guidelines
             for instructing teachers, coaches, staff, and other School District employees
             about how to address observed and unobserved acts of hazing, bullying, and
             violence;
          c. Require Defendant DISTRICT 202 to conduct assemblies for all students in the
             School District addressing issues of hazing, bullying, and violence, wherein
             students are instructed about laws prohibiting violence, including but not
             limited to assault, battery, sexual assault, hazing, and bullying, as well as the
             detrimental social and psychological effects such behavior has on students’
             lives;
          d. Require Defendant DISTRICT 202 to conduct educational sessions wherein
             student athletes and their parents are instructed about laws prohibiting hazing
             and bullying and how they impact the athletes’ required conduct during school
             sponsored activities;
          e. Require Defendant DISTRICT 202 to assign a peer mediator and/or other staff
             member to District schools to provide active monitoring for the schools and to
             address instances of hazing and bullying that arise at the schools;
          f. Require Defendant DISTRICT 202 to maintain statistical data concerning each
             complaint of hazing and bullying made by a student, parent, or staff member,
             as well as the specific action School District personnel took to resolve the
             complaint; and/or
          g. For an order awarding such other and further relief this Court deems just and
             proper.


                                                    Respectfully Submitted,
                                                     ROMANUCCI & BLANDIN, LLC

                                                By:/s         Antonio M. Romanucci
                                                             Attorney for Plaintiffs


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